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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                                   Electronically Filed


JENNIFER BROOKS and
ROBERT BROOKS,

                          Plaintiffs,

v.                                                  Case No. 3:20-cv-331-JRW

HUMANA INC.

and

FEDERAL EMPLOYEES HEALTH
BENEFIT PROGRAM,

                          Defendants.


                        CORPORATE DISCLOSURE STATEMENT

       Pursuant to Federal Rule of Civil Procedure 7.1, Defendant Humana Inc. hereby discloses

that it is a publicly traded corporation (NYSE: HUM). No parent corporation or publicly held

corporation owns ten percent or more of Humana’s outstanding stock.



Dated: June 17, 2020                                 Respectfully Submitted,

                                                     s/ Michael P. Abate
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